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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


NICK VINCENT FLOR,

        Plaintiff,

v.                                                                       Civ. No. 20-27 JAP/LF

THE BOARD OF REGENTS OF THE
UNIVERSITY OF NEW MEXICO,
STEPHEN BISHOP, LISA BROIDY,
KEVIN GICK, KARIN HIGH, ERIC LAU,
individually and in their official capacities,
and EVA CHAVEZ,

        Defendants.

                 AMENDED NOTICE OF PRETRIAL ORDER DEADLINE,
                      PRETRIAL CONFERENCE, AND TRIAL

        As directed by United States Magistrate Judge Laura Fashing, the consolidated Pretrial

Order is due by April 19, 2021. Please provide the consolidated Pretrial Order in Word format

to Judge Parker’s proposed text email: parkerproposedtext@nmd.uscourts.gov. Judge

Parker’s Pretrial Order form is different from the District form. Counsel should use Judge

Parker’s Pretrial Order form from the Court website at http://www.nmd.uscourts.gov. Click

on “Judges” under Quick Links, click on “Judge James A. Parker,” “Procedures,” and “Pre-

Trial Order Form.”

        Please note that a pretrial conference is scheduled on May 13, 2021, at 11:00 a.m. at the

United States Courthouse, 421 Gold Ave. SW, Sixth floor, Albuquerque, New Mexico. Counsel

should be prepared to discuss all pending motions at the pretrial conference. Counsel should

advise Judge Parker, in writing, if discovery deadlines are extended beyond January 21, 2020, in

order that the pretrial conference and/or trial can be vacated and reset at a later date. If trial counsel
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is unable to attend the pretrial conference, substitute counsel who is prepared to discuss and give

information about the trial may attend the pretrial conference.

       This matter is scheduled for jury selection and trial on a trailing calendar beginning on

June 7, 2021 at 1:30 p.m. at the United States Courthouse, 421 Gold Ave. SW, Sixth Floor,

Albuquerque, New Mexico. Trial preparation instructions can be accessed through the Court’s

website at http://www.nmd.uscourts.gov.




                   Please direct all inquiries to: Shannon Nairn, Law Clerk to
                    Hon. James A. Parker, Senior United States District Judge
                                          (505) 348-2220
                     A true copy of this notice/order was served via mail or
         electronic means to counsel of record as they are shown on the Court’s docket.




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